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             EXHIBIT J
     Case 2:20-cv-17484-JMV-JBC Document 22-24 Filed 01/31/22 Page 2 of 2 PageID: 309


Carbone, Elizabeth A

Subject:                           FW: Redidata status



From: Alan Haines <a.haines@odysseyservices.net>
Sent: Monday, November 19, 2018 2:18 PM
To: Paul Kane <pkane@stayinfront.com>
Cc: Ron Lokaisingh <r.lokaisingh@odysseyservices.net>; Level 1 Support <level-1@odysseyservices.net>
Subject: RE: Redidata status
Importance: High

Hello Paul,

I do not have very good news…

Odyssey has been working with Spamhaus and we have managed to get all the IPs removed from the block list. As you
may know, they blocked all 3 of our subnets and we couldn’t send email for any of our clients until this morning. To have
the black lists removed we had to agree to not send unsolicited mail using these subnets. We were warned that sending
more unsolicited email will result in a blacklist that they will not remove for up to 6 months.

Unfortunately we cannot send emails on your behalf until an alternative solution is in place. We are quickly working on a
solution for your traffic but it looks as if we need to add additional engines with completely separate connections. At this
point I can promise a plan (by Thursday) that will highlight a timeline related to restoring your services.

I will invite you to call me and/or Ron (Odyssey CEO), if you need clarification or would like to discuss anything
mentioned above.

Very sorry for the current challenge and hope to have you up and running as soon as possible.

Alan Haines | Director of Operations and IT | ODYSSEY SERVICES
p: (888) 661-9823 ext.2008 | m: (647) 998-8380 | e: a.haines@odysseyservices.net

Your Enterprise CLOUD Messaging Platform



From: Paul Kane <pkane@stayinfront.com>
Sent: Mon, November 19, 2018 10:58 AM
To: Alan Haines <a.haines@odysseyservices.net>
Subject: Redidata status

As I mentioned we are not sending any emails today. I sent a few tests this morning but did not receive them. What is
our current status and future planning.




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